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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                       Case No: 21-20151-CR-ALTMAN

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  MIGUEL ANDRES GUTIERREZ DIAZ,

        Defendant.
  ____________________________________/

                                 ORDER ON PARTIES’ JOINT MOTION
                                 FOR MENTAL-HEALTH EVALUATION

         The Defendant filed a Motion for a Mental-Health Evaluation (the “Motion”) [ECF No. 62].

  In the Motion, the Defendant asks the Court to appoint a mental-health professional to evaluate the

  Defendant’s competence. See id. (citing 18 U.S.C. § 4241(a) & FED. R. CRIM. P. 12.2(c)). After careful

  review, we ORDER and ADJUDGE as follows:

         1.           The Motion [ECF No. 62] is GRANTED.

         2.           The Defendant, MIGUEL ANDRES GUTIERREZ DIAZ, is committed to the

  Federal Detention Center in Miami, Florida, for a qualified mental-health professional from the BOP

  (either a psychologist or a psychiatrist) to examine him and determine whether he is competent to

  proceed.

         3.           Within 30 days of this Order, the mental-health professional shall report the results of

  his or her examination to the Honorable Roy K. Altman, United States District Judge (by sending an

  email to altman@flsd.uscourts.gov); to Assistant United States Attorney Ellen D. Angelo; and t o

  counsel for the Defendant, Dennis N. Urbano. The report shall contain an opinion as to whether the

  Defendant is suffering from a mental disease or defect that renders him incompetent to proceed. In
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  doing so, the report must explain whether the Defendant is able to (1) understand the nature and

  consequences of the proceedings and (2) assist in his defense.

         3.      The AUSA and Mr. Urbano shall give the mental-health professional any information

  that may shed light on the Defendant’s competency—including any relevant police reports; recorded

  statements of the Defendant; court records; and any available prior medical, psychiatric, and

  psychological records.

         4.      The Court sets a status hearing on the Defendant’s competency for Monday,

  February 28, 2022 at 3:30 p.m. in Miami, 400 N. Miami Avenue, Courtroom, 12-4.

         DONE AND ORDERED in Miami, Florida, this 18th day of January 2022.




                                                ___________________________________
                                                HON. ROY K. ALTMAN
                                                UNITED STATES DISTRICT JUDGE


  CC:    Ellen D’Angelo, AUSA
         Dennis Urbano, Esq.,
         United States Marshal’s Service
         Federal Detention Center, Miami
